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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
              v.                          :
                                          :      Criminal No. 23-mj-23 )
ROBERT DEGREGORIS                         :
                                          :


                           DEFENDANT’S NOTICE OF WAIVER

       Defendant Robert Degregoris, through counsel, hereby provides notice that he waives

a preliminary hearing in this matter.


Dated: February 23, 2023                         Respectfully submitted,


                                                 ______/s/ Paul Enzinna _____________
                                                 Paul F. Enzinna
                                                 Ellerman Enzinna Levy PLLC
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                                                 penzinna@eellaw.com

                                                 Counsel for Defendant Robert Degregoris




                                   CERTIFICATE OF SERVICE
         I certify that on February 23, 2023, a copy of the foregoing Defendant’s Notice of
Waiver was filed using the CM/ECF system, which will then send notification of such
filing to all counsel of record.

                                              _______/s/_____________________
                                              Paul F. Enzinna
                                              Counsel for Defendant Robert Degregoris
